                                                                                  ORDER:
                                                                                  Motion granted.

                           UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION
                                                                                  U.S. Magistrate Judge
UNITED STATES OF AMERICA                              )
                                                      )
                                                      )
       v.                                             )       No. 3-2064-3-MK
                                                      )       E. CLIFTON KNOWLES
                                                      )       Judge, U.S. District Court
SERATIN BENITIZ-CUAUHTEMOC                            )
a/k/a CUACHTROMOC SERAFIN-BENITEZ                     )


                               MOTION TO CORRECT NAME

       Comes now the accused, by and through Isaiah S. Gant, Assistant Federal Public

Defender, and hereby requests this Court to correct the name of the accused in the

criminal complaint in this case. The criminal complaint currently reflects the name as

Seratin Benitiz-Cuauhtemoc a/k/a Cuachtrmoc Serafin-Benitez. The correct name is

Cuauhtemoc Sarafin-Benitiz.

       Wherefore, the Mr. Sarafin-Benitez requests this Court to correct his name in the

criminal complaint.

                                              Respectfully submitted,


                                              /s/ Isaiah S. Gant
                                              Isaiah S. Gant (BPR #025790)
                                              Assistant Federal Public Defender
                                              810 Broadway, Suite 200
                                              Nashville, Tennessee 37203
                                              615-736-5047
                                              E-mail: skip_gant@fd.org

                                              Attorney for Cuauhtemoc Sarafin-Benitiz


                                 CERTIFICATE OF SERVICE
       I hereby certify that on June 26, 2013, I electronically filed the foregoing Motion to Correct
Name with the clerk of the court by using the CM/ECF system, which will send a Notice of
Electronic Filing to the following: Harold B. McDonough, Jr., Assistant United States Attorney, 110
Ninth Avenue South, Suite A961, Nashville, TN 37203; Hershell D. Koger, Attorney for Benito
Rayo Rosas, P.O. Box 1148, Pulaski, TN 38478; and James O. Martin, III, Attorney for Miguel
Angel Garcia Navarro, 414 Union Street, Suite 904, Nashville, TN 37219..


                                              /s/ Isaiah S. Gant
                                              ISAIAH S. GANT

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